             Case 1:13-cr-00151-ELH           Document 1603         Filed 04/07/15    Page 1 of 1



                                    United States District Court
                                       District Of Maryland
     Chambers of                                                                     101 West Lombard Street
Ellen Lipton Hollander                                                               Baltimore, Maryland 21201
  District Court Judge                                                                     410-962-0742



                                                    April 7, 2015



       Mr. Tyrone Thompson #56422-037
       FCI Butner Low Federal Correctional Institution
       P.O. Box 999
       Butner, North Carolina 27509

              Re:        United States v. Tyrone Thompson
                         Criminal No.: ELH-13-0151

       Dear Mr. Thompson:

               The Clerk received a letter from you docketed on April 6, 2015 (ECF 1600), inquiring as
       to the status of your motion pursuant to 18 U.S.C. § 3582, which you claim to have filed on
       November 14, 2014.

              On November 3, 2014, you requested a copy of your docket entries. See ECF 1157. On
       November 19, 2014, you again requested a copy of your docket entries. See ECF 1220. The
       docket sheet was sent to the Warden on November 24, 2014, for your review. See ECF 1229.
       Additional materials were sent to the Warden on the same date. See ECF 1230. On December 8,
       2014, your request for transcripts was docketed. See ECF 1257. On December 15, 2014,
       information was provided to you as to how to obtain the requested transcripts. See ECF 1269.

              The docket does not reflect your filing of a motion under 18 U.S.C. § 3582. If such a
       motion is filed by you, it will be docketed upon receipt.

              I hope this information is helpful to you.

                                                                    Sincerely,

                                                                        /s/
                                                                    Ellen Lipton Hollander
                                                                    United States District Judge
